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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF DELAWARE

  NO LABELS,

           Plaintiff,
                                                      Case No. 1:23-cv-01384-GBW
  v.

  NOLABELS.COM INC.,

           Defendant.


                                DECLARATION OF LIZ MORRISON

           I, Liz Morrison, do hereby declare and state the following based on first-hand knowledge:

           1.      I am a Co-Executive Director at No Labels. I have a bachelor’s degree from the

College of William & Mary.

           2.      I submit this declaration in further support of Plaintiff’s Motion for Temporary

Restraining Order and/or Motion for Preliminary Injunction based on my information, knowledge

and belief and the records in this matter.

           3.      If called as a witness, I could and would testify competently to the information

detailed in this declaration.

           4.      On Thursday, December 14, 2023, I visited the website for the Google Ads

Transparency Center located at https://adstransparency.google.com/, which provides the ability to

search for advertisers and proclaims: “Ads transparency for a safe and open internet: Find active

ads published through Google.” See Dec. 14, 2023 screenshot below.




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5.         On the search bar, I entered the phrase “Nolabels.com Inc.” and the result was advertising

information for NoLabels.com Inc.’s purchase of advertisement labeled as a political ad. See Dec.

14, 2023 screenshot below. On that same page, the site provides the following information: (1)

Shown 2K – 3K times; (2) From Nov 23 – Dec 14, 2023 (20 days); (3) Spent $2K - $2.5K.




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6.    Next, and within that same site, I clicked on the “Insights” tab, which revealed that the ad

     purchased by NoLabels.com Inc had been “shown” in all fifty states and the District of

     Columbia totaling $2,100. See Dec. 14, 2023 screenshot below.




           7.      Separately, No Labels in or around 2018, inadvertently allowed its registration of

the <nolabels.com> domain to lapse, a registration that it had held since approximately 2009.



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            ATTACHMENT A
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   From: Michelle Penninger
   Sent: Monday, November 27, 2023 10:00 AM
   To: Sam Fulton                         >; Nancy Jacobson                                     ; Liz
   Morrison <               ; Shaya Blanc                          >; McKinley Mason Scholtz

   Cc: Bill Sweetman                    ; Jeanette Lalande                                  ;
   Natasha Nel
   Subject: Update: NoLabels.com ~ November 27, 2023
   sophospsmartba nnere nd




   Hello Nancy and team,

   Happiest of Mondays to you!

   It is time for our weekly email update on the NoLabels.com project.

   Over the course of the last week:

   * Name Ninja continued to stay in close contact with the marketplace contact to see if they can
   help us to provoke a response from the domain name owner. The owner never did respond.
   * Our contact at the domain name marketplace sent a Best and Final Offer to the domain name
   owner. The owner never responded to that, either.
   * On Saturday, you and Bill discussed the alarming fact that the mystery owner had just
   launched a Website using the domain. Bill provided you with some contextual notes and
   recommended that you engage with a lawyer to file a lawsuit or UDRP since this has now
   become a legal matter as the domain owner is clearly trying to interfere with your organization's
   work.

   NEXT STEPS: Name Ninja is going to stand down while you explore the legal route. We will, of
   course, let you know if the mystery domain owner responds to our previous inquiries and offers,
   although we doubt they will.


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   Please let us know if you have any questions. Depending on how things go this week, we may
   send another regular weekly update next week at this same time. If we have any "breaking
   news" to share we will right away.

   Thank you!

   Michelle

                   Michelle Penninger / Senior Ninja
                                           / she/her

                   Name Ninja
                   416-203-7033 Ext. 205
                   Toronto, Canada
                   http://www.nameninja.com




   Michelle Penninger
                                                                     November 27, 2023 10:00 AM
   Hello Nancy and team,

   Happiest of Mondays to you!

   It is time for our weekly email update on the NoLabels.com project.

   Over the course of the last week:

   * Name Ninja continued to stay in close contact with the marketplace contact to see if they can
   help us to provoke a response from the domain name owner. The owner never did respond.
   * Our contact at the domain name marketplace sent a Best and Final Offer to the domain name
   owner. The owner never responded to that, either.
   * On Saturday, you and Bill discussed the alarming fact that the mystery owner had just
   launched a Website using the domain. Bill provided you with some contextual notes and
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   NEXT STEPS: Name Ninja is going to stand down while you explore the legal route. We will, of
   course, let you know if the mystery domain owner responds to our previous inquiries and offers,
   although we doubt they will.

   Please let us know if you have any questions. Depending on how things go this week, we may
   send another regular weekly update next week at this same time. If we have any "breaking
   news" to share we will right away.

   Thank you!

   Michelle



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                      Michelle Penninger / Senior Ninja
                                              / she/her

                      Name Ninja
                      416-203-7033 Ext. 205
                      Toronto, Canada
                      http://www.nameninja.com




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             Bill Sweetman / President
                                / he/him

             Name Ninja
             416-203-7033 Ext. 201
             Toronto & Ottawa, Canada
             http://www.nameninja.com




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